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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 INAE LIM

 Plaintiff                                           Case No. 19-cv-2460

 -against-                                           APPLICATION FOR PRELIMINARY
                                                     INJUNCTION POSTPONING THE
 UNITED STATES CITIZENSHIPAND                        EFFECTIVENESS OF THE DENIAL OF
 IMMIGRATION SERVICES                                PLAINTIFF’S APPLICATION FOR
                                                     ADJUSTMENT OF STATUS AND TO
 Defendant                                           REQUEST AN EXPEDITED HEARING
                                                     WITHIN 21 DAYS ON HER
                                                     APPLICATION

        Plaintiff Inae Lim applies to the Court to exercise its authority under 5 U.S.C. § 705

and/or its inherent authority to issue injunctions preserving the status quo to postpone the

effective date of the denial of her application for adjustment of status pending a review of that

decision under the Administrative Procedure Act. Plaintiff relies upon her Statement of Specific

Points of Law and Authority concurrently filed herewith in making this application.

        Plaintiff also requests pursuant to LCvR 65.1 for an expedited hearing on this application

no later than 21 days after the date of filing and in support of this request states that as a result of

USCIS's decision to deny her application for adjustment of status she is without lawful

immigration status. This sorry state of affairs leaves her suffering harm that is "certain and

great," as she is without legal status at this moment and could therefore at any time be detained

and placed in removal proceedings. Further harm is also "imminent;" because not only could she

be detained at any time, but even if she evades removal proceedings by departing the United

States more than 180 days after that decision, she will then be barred from returning to this

country for at least three years pursuant to 8 U.S.C. § 1182(a)(9)(B).
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       Ms. Lim has lived in the United States continuously for well over 11 years. If she leaves

the United States, she will be "uprooted from [her] job, home, and community for an

undetermined length of time." Ruiz-Diaz v. United States, No. C07-1881RSL, 2008 U.S. Dist.

LEXIS 79217, 2008 WL 3928016, at *2 (W.D. Wash. Aug. 21, 2008) (holding that "halting the

accrual of unlawful presence time and/or unauthorized employment for . . . class members"

would "prevent irreparable harm to class members "). This is time Ms. Lim would never get

back, and a disruption to her life that could never be remedied, even if she were ultimately

permitted to return to the United States after prevailing in this case. Therefore, the harm to her is

"beyond remediation”. See Stellar IT Sols., Inc. v. United States Citizenship & Immigration

Servs., 2018 U.S. Dist. LEXIS 196284, *35-36, 2018 WL 6047413 (D.C.D.C. Nov. 19, 2018).

       Accordingly, it is respectfully requested that a hearing be scheduled on this application

for preliminary injunction within 21 days, at which time a preliminary injunction be issued

postponing the effectiveness of the denial of Ms. Lim’s application for adjustment of status

during the pendency of this action, and that such order be retroactive to the date of the denial of

that application.



 s/Michael E. Piston
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 646-845-9895

 Dated: September 16, 2019

                                 CERTIFICATE OF SERVICE
        I certify that the foregoing was served upon the defendant in this action today by UPS

next day delivery service at the following addresses:
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United States Citizenship and Immigration Services
c/o Civil Process Clerk
United States Attorney’s Office
 555 4th St NW, Washington, DC 20530

United States Citizenship and Immigration Services
c/o Attorney General
US Department of Justice
950 Pennsylvania Avenue NW
Washington DC 20530

United States Citizenship and Immigration Services
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s/ Michael E. Piston
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Dated: September 16, 2019
